                Case 4:98-cr-00091-DPM                      Document 1832            Filed 11/06/09            Page 1 of 2
~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT                                                    NOV - 6 2009
                                                                                                         JAM~CORMAC~
          UNITED STATES OF AMERICA
                                                         Eastern District of Arkansas

                                                                          Judgment in a Criminal Case
                                                                                                         By,   4.L ,,</~           .
                                                                                                                                   DEP CLERK
                    v.                                                    (For Revocation of Probation or Supervised Release)
        MAURICE REACE HAYGOOD, JR.

                                                                          Case No. 4:98cr00091-22 JMM
                                                                          USM No. 21444-009
                                                                          Steven Davis
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General & Std 9                  of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                 Violation Ended
General                         Failure to refrain from committing another crime                                 07/31/2008



                                in criminal activity


       The defendant is sentenced as provided in pages 2 through              2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4635                       11/06/2009
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:          1963
                                                                        ~\/V\\I~
City and State of Defendant's Residence:
                                                                        U---,              ---s-i-gn-a-tu-r-e-of-J-u-d-ge-~}r--------


                                                                          James M. Moody                               US District Judge
                                                                                                 Name and Title of Judge

                                                                          11/06/2009
                                                                                                          Date
                      Case 4:98-cr-00091-DPM                     Document 1832         Filed 11/06/09         Page 2 of 2
  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                      Judgment - Page _;;;;;.2_ of   2
  DEFENDANT: MAURICE REACE HAYGOOD, JR.
  CASE NUMBER: 4:98cr00091-22 .IMM


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
EIGHTEEN (18) MONTHS to be served consecutively with 4:08cr00294-02 JLH




      'i/ The court makes the following recommendations to the Bureau of Prisons:
Defendant shall participate in residential substance abuse treatment program.




      'i/ The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
            D    at    _ _ _ _ _ _ _ _ _ D a.m.                      D p.m.     on
            D    as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                           to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                              By - - - - -.........    .........=~_:_=::_:_:~=':"'7":'----
                                                                                               DEPUTY UNITED STATES MARSHAL
